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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                 4:09CR3091-2
                                          )
             V.                           )
                                          )
JOBITA WILLETTA AVERY,                    )                     ORDER
                                          )
                    Defendant.            )
                                          )


        IT IS ORDERED that the defendant’s motion for judgment of acquittal and new trial
(filing 151) is denied.

      DATED this 8th day of February, 2010.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         United States District Judge
